                Case 19-22831-CMB                       Doc 43         Filed 12/08/20 Entered 12/08/20 11:04:39        Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                  IN RE: Paul G. Cain                                                                  CHAPTER 13
                                Dianne M. Cain
                                             Debtor(s)                                             BKY. NO. 19-22831 CMB


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of THE BANK OF NEW YORK MELLON
                    FKA THE BANK OF NEW YORK AS SUCCESSOR INDENTURE TRUSTEE TO
                    JPMORGAN CHASE BANK, N.A., AS INDENTURE TRUSTEE FOR THE CWABS
                    REVOLVING HOME EQUITY LOAN ASSET BACKED NOTES, SERIES 2004-E and
                    index same on the master mailing list.



                                                                 Respectfully submitted,


                                                                 /s/ ${s:1:y:_________________________}
                                                                      Brian Nicholas
                                                                      02 Dec 2020, 14:02:42, EST

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